             Case 2:17-cv-01033-JNP Document 6 Filed 10/30/17 Page 1 of 10

                                                                                FILED IN UNITED STATES DISTRICT
                                                                                    COURT, DISTRICT OF UTAH

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Attorney Pro Se
Utah State Prison                                                                     SEP 14 2017
PO Box 250
Draper, Utah 84020                                                                U.S. DISTRICT COURT

                IN THE UNITED STATES DISTRICT COURT, DISTRICT OF UTAH
                                 CENTRAL DIVISION

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D~~{, «-\ R, Chc\~ ~ e. s                          )
                                                   )
                                                        Case: 2:17-cv-01033
                                                        Assigned To: Parrish, Jill N.
                          Plaintiff,
                                                        Assign. Date: 9/14/2017
                                                   )
    ut-C\\: S~C\te ~,; '"jo~1
                                                        Description: Chaides v. Utah State Prison
 vs.                                               )
                                                        CIVIL RIGHTS COMPLAINT AND
   16 ,  St"'   o Y\ c:i
 JOHN DOES 1-10, employees at
                              '
                                                   )
                                                   )
                                                   )
                                                        DEMAND FOR JURY TRIAL

 Utah State Prison, individually,                  )    Pursuant to 42 U.S.C. §1983
                                                   )
                          Defendants.               )


                                              JURISDICTION

        1.    Plaintiff   D(\ ~ e\ RI Chct~c\es is acitizenofUtah, who presently resides atthe
                                    V)


        Utah State Priso\l, P.O. ~OiX 25.0, Draper_, Utah 84020.
                      \J-t'r;,\i\ ?:s: l\.\-e ? < 1 So      ni
        2. Defendant                D.   st   '(
                                              0    n~      is a citizen of Utah, and is employed as the

        ____()~-\_,__\_,_'_\__::c_=---e=--'C~-----               at the Utah State Prison for the Utah

        Department of Corrections. At the time the claim(s) alleged in this complaint arose, this

        defendant was acting under color of state law in that he/she is the   0 {-(; Ce \(          at the

        Utah State Prison for the Utah Department of Corrections and is directly responsible for the

        wrongful actions alleged herein.
          Case 2:17-cv-01033-JNP Document 6 Filed 10/30/17 Page 2 of 10




     3.    Defendant     v~ ' st'( 0 1'1 9         is a citizen of Utah, and is employed as the

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     ~~~~~"'------"---~~~~~~~~~
                               \{-                       at the Utah State Prison for the Utah

     Department of Corrections. At the time the claim(s) alleged in this complaint arose, this

     defendant     was    acting   under   color    of   state   law   in   that   he/she   is   the

      __-\~-~-I~'_C~_E:_--~---for
     _()                                     the Utah Department of Corrections and is directly

     responsible for the wrongful actions alleged herein.

     4.    Other Defendants by name and position, if known:      a\:~ / l. e \j~ C.Z i"' V"O yr) e y   f'V\c.,\   n   I


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    s+qt e o-\- l)fq h ,
     5.    Defendant John Does 1-10, whose true names are unknown and when true names are

     ascertained the pleadings will be amended accordingly, are citizens of Utah, and are

     employed at the Utah State Prison. At the time the claim(s) alleged in this complaint arose,

    these defendants were acting under color of state law in that they are employees for the Utah

    Department of Corrections and are directly responsible for wrongful actions alleged herein.

     6.    Jurisdiction is invoked pursuant to 28 U.S.C. §1343 (3); and 42 U.S.C. §1983.

                                     B. NATURE OF CASE




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          7.    Why are you bringing this case to court? Describe the circumstances that led to the

          problem (include the who/what/when/where of your claims):



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                                              C. CAUSE OF ACTION

              6.      Plaintiff alleges that the following constitutional rights, privileges or immunities have

     been violated and that the following facts form the basis for the allegations:

                      1.      Count I: Plaintiff's Sixth Amendment and Liberty Interests to equal protection

     are denied by the Defendant based upon the following:        Wh eV\ o..\'~; ( ~~                  b- 5+ 5    V-Ov\


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                     2.            Count II:                       Plaintiffs Eighth Amendment and Liberty Interests to be free

  from cruel and unusual punishment have been violated by Defendants' actions in that

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  Other rights being violated (include amendments as appropriate):                                         e 'IfJq ~ Yl e l\
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                                                   D. INJURY

Describe how you were injured as a result of the claims herein:

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              E. PREVIOUS LAWSIDTS AND ADMINISTRATIVE RELIEF

        13.    Plaintiff has not filed any other law suits in state or federal court dealing with the

same facts involved in this action.

        14.    Plaintiff has previously sought informal or formal relief from the appropriate

administrative officials regarding the acts complained of herein to no avail.

                                  F. REQUEST FOR RELIEF

       WHEREFORE, Plaintiff prays for the following relief:

               a)      Trial by jury.

               b)      That counsel be appointed to represent the Plaintiff in this action.

               c)      Punitive damages in the amount of     ;ff85 i° 00 .0 0 .
               d)      Compensatory damages in the amount of    f qs1) 00 D. 00.
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          e)    Grant attorney fees and court costs for this action.

          f)    Such other and further relief the court deems just and proper.

    DATED this 'J- \   day of       -:S \j\    '-\           , 20_l?.



                                fJ°"~~~{tv~
                                       Plaintiff, Attorney pro se




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                     DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that he/she is the plaintiff in the above action, that

he/she has read the above complaint and that the information contained therein is true and correct,

and filed according to 28 U.S.C. Sec. 1976 and 18 U.S.C. Sec. 1621.

EXECUTED at ~:         Z.. l   f Y:"    on   'S U \ ~        1-_ \       , 20J.1        , ;?

                                              Cjj_°".~J ~p-~
                                                 Plaintiff




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                                       CERTIFICATE OF MAILING

 I do hereby certify that a true and correct copy of the foregoing was mailed, postage prepaid, to the US
 _District Court at 351 South West Temple Room 1.100, Salt Lake City, Utah, 84101 on this    J1:-    day of
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